                                  Exhibit L




Case: 19-30088   Doc# 522-6   Filed: 02/20/19   Entered: 02/20/19 18:38:39   Page 1
                                       of 5
Contra Costa Times                                                                          Legal No. 6294103
2850 Shadelands Dr., #101
Walnut Creek, CA 94598
(510) 723-2850


3110950

PG&E Corporation




            PROOF OF PUBLICATION
                        FILE NO. R2110118

In the matter of:
                        Contra Costa Times
I am a citizen of the United States. I am over the age of eighteen
years and I am not a party to or interested in the above entitled
matter. I am the Legal Advertising Clerk of the printer and publisher
of the Contra Costa Times, a newspaper published in the English
language in the City of Walnut Creek, County of Contra Costa, State
of California.

I declare that the Contra Costa Times is a newspaper of general
circulation as defined by the laws of the State of California as
determined by court decree dated October 22, 1934, Case Number
19764. Said decree states that the Contra Costa Times is adjudged
to be a newspaper of general circulation for the City of Walnut
Creek, County of Contra Costa and State of California. Said order
has not been revoked.

I declare that the notice, of which the annexed is a printed copy, has
been published in each regular and entire issue of said newspaper
and not in any supplement thereof on the following dates, to wit:
                          February 15, 2019




I certify (or declare) under the penalty of perjury that the foregoing is true
and correct.


Executed at Walnut Creek, California.
On this 15th day of February, 2019.



Signature      Case: 19-30088             Doc# 522-6             Filed: 02/20/19   Entered: 02/20/19 18:38:39   Page 2
                                                                          of 5
Case: 19-30088   Doc# 522-6   Filed: 02/20/19   Entered: 02/20/19 18:38:39   Page 3
                                       of 5
                                                                                                        Newspaper : East Bay Times
                                                                                                            Issue Date : 02/15/2019                                             Ad Number : 000629410301



B12           BAY AREA NEWS GROUP                                                  000                                                                                                                                                                                 FRIDAY, FEBRUARY 15, 2019

Legal Advertising and Public Notices
 Legal Notice                             Legal Notice                            Legal Notice                           Legal Notice               Legal Notice              Legal Notice               Legal Notice                   Legal Notice                  Legal Notice                   Legal Notice
                                                                                                                                                                                                                                                                                        p                                     y
                                          INVITATION TO BID                                                                                         INVITATION TO BID                                   months from the date                 FILED Jan. 23, 2019     /s/Dana Aguilera               Clerk of Contra Costa
                                                                                                                                                                                                        of first issuance of let-                      JOSEPH E.     This statement was             on date indicated by
1.Notice is hereby given that the governing board (“Board”) of the West                                                 1.Notice is hereby given that the governing board (“Board”) of the West         ters to a general per-                    CANCIAMILLA,       filed with the County          file stamp above.
Contra Costa Unified School District (“District” or “Owner”) will receive                                               Contra Costa Unified School District (“District” or “Owner”) will receive       sonal representative,                       County Clerk     Clerk of Contra Costa          Business commenced
sealed bids for the following project, Bid No. 1000002992R (“Project” or                                                sealed bids for the following project, Bid No. 1000003087 (“Project” or         as defined in section                            CONTRA      on date indicated by           on 04/2018
“Contract”):                                                                                                            “Contract”):                                                                    58(b) of the California                 COSTA COUNTY         file stamp above.              Expires 02/12/2024
                                                                                                                                                                                                        Probate Code, or (2)                    By, A. Vasquez,      Business commenced                   WCT 6294824
       Richmond High School Track & Turf Surfaces Replacement,                                                                  Pinole Valley High School Interim Campus Demolition,                    60 days from the date             Deputy County Clerk        on n/a                                 Feb. 15, 22;
                        Project #1000002992R                                                                                                      Project# 1000003087                                   of mailing or personal               FILE NO. 2019-0200      Expires 02/01/2024                   Mar. 1, 8, 2019
                                                                                                                                                                                                        delivery to you of a            FICTITIOUS BUSINESS                WCT 6291639                                    FILED
2.Sealed Bids will be received until 2:00 p.m. March 8, 2019 at the Re-                                                 2.Sealed Bids will be received until 2:00 p.m. March 7, 2019 at the Re-         notice under section              NAME STATEMENT                   Feb. 8, 15, 22;                 JANUARY 30, 2019
ception Desk located at the District’s Facilities Operations Center, 1400                                               ception Desk located at the District’s Facilities Operations Center, 1400       9052 of the California         The name of the busi-                Mar. 1, 2019             Joseph E. Canciamilla,
Marina Way South, Richmond, California, at or after which time the                                                      Marina Way South, Richmond, California, at or after which time the              Probate Code.                  ness is:                            FILED FEB 11, 2019       County Clerk-Recorder
bids will be opened and publicly read aloud. Any claim by a bidder of                                                   bids will be opened and publicly read aloud. Any claim by a bidder of           Other California stat-         MC WIRELESS, INC.                       MELISSA WILK,           Contra Costa County
error in its bid must be made in compliance with section 5100 et seq. of                                                error in its bid must be made in compliance with section 5100 et seq. of        utes and legal author-         located at 3729 Herit-                     County Clerk        By J Celestial, Deputy
the Public Contract Code. Any bid that is submitted after this time shall                                               the Public Contract Code. Any bid that is submitted after this time shall       ity may affect your            age Dr. Antioch, CA                ALAMEDA COUNTY              FILE NO. 2019-0000630
be non-responsive and returned to the bidder.                                                                           be non-responsive and returned to the bidder.                                   rights as a creditor.          94509, Contra Costa                       By ---, Deputy      FICTITIOUS BUSINESS
                                                                                                                                                                                                        You may want to con-           County, is hereby reg-                  FILE NO. 555142         NAME STATEMENT
3.The Project consists of: Remove and replace existing synthetic turf 3.The Project consists of: Demolition of the existing Interim Campus,                                                             sult with an attorney          istered by the                 FICTITIOUS BUSINESS           The      name       of the
field. Repair resurfacing of all-weather track surface and field water including but not limited to site utilities, structures and furnishings. Re-                                                     knowledgeable in Cal-          following owner(s):              NAME STATEMENT              business: BRIAN LEE &
line replacement.                                                        moval of fencing, fixtures and equipment where indicated on drawings.                                                          ifornia law.                   MC Wireless, Inc.                    Pursuant To             ASSOCIATES located
                                                                         4.All bids shall be on the form provided by the District. Each bid must                                                                                       3729 Heritage Dr.                   Business and             at 4 Crow Canyon Ct.,
4. All bids shall be on the form provided by the District. Each bid must conform and be responsive to all pertinent Contract Documents, in-                                                             You may examine the            Antioch, CA 94509                 Professions Code           Ste. 100, San Ramon,
conform and be responsive to all pertinent Contract Documents, in- cluding, but not limited to, the Instructions to Bidders. Bid Form and                                                               file kept by the court.        California                     Sections 17900-17930          CA 94583 in Contra
cluding, but not limited to, the Instructions to Bidders. Bid Form and Proposal (Document 00 41 13), Bid Bond on the District’s form (Docu-                                                             If you are a person in-        This business is              The name of the busi-          Costa County is here-
Proposal (Document 00 41 13), Bid Bond on the District’s form (Docu- ment 00 43 13) or other security, Designated Subcontractors List (Docu-                                                            terested in the estate,        conducted                     ness: FAIRVIEW CARE            by registered by the
ment 00 43 13) or other security, Designated Subcontractors List (Docu- ment 00 43 36), and Non-Collusion Declaration (Document 00 45 19)                                                               you may file with the          by: A Corporation             HOME           located at      following owner(s):
ment 00 43 36), and Non-Collusion Declaration (Document 00 45 19) must accompany each bid and shall be submitted in a sealed envelope.                                                                  court a Request for            /s/ Milton A. Olmedo,         24933 2ND ST. in HAY-          Myungsoo Lee
must accompany each bid and shall be submitted in a sealed envelope.                                                                                                                                    Special Notice (form           President                     WARD, CA 94541, Ala-           3135 Vittoria Loop
                                                                         5.To bid on this Project, the Bidder is required to possess one or more                                                        DE-154) of the filing of       This statement was            meda County is here-           Dublin, CA 94568
5.To bid on this Project, the Bidder is required to possess one or more of the following State of California Contractor Licenses: “A”, “B”, or “C-                                                      an inventory and ap-           filed with the County         by registered by the           This business is con-
of the following State of California Contractor Licenses: A, and/or B    21”.                                                                                                                           praisal of estate as-          Clerk of Contra Costa         following owner(s):            ducted by: An Individ-
  The Bidder’s license(s) must be active and in good standing at the The Bidder’s license(s) must be active and in good standing at the time                                                            sets or of any petition        on date indicated by          AURICA FRONE                   ual
time of the bid opening and must remain so throughout the term of the of the bid opening and must remain so throughout the term of the Con-                                                             or account as provid-          file stamp above.             24933 2ND ST.                  Business commenced
Contract.                                                                tract.                                                                                                                         ed in Probate Code             The registrant com-           HAYWARD, CA 94541              on 7-26-18.
                                                                                                                                                                                                        section 1250. A Re-            menced to transact            This business is con-          /s/ Myungsoo Lee
6.As security for its Bid, each bidder shall provide with its Bid form:                                                 6.As security for its Bid, each bidder shall provide with its Bid form:         quest for Special No-          business under the            ducted by: an individ-         This statement was
   • a bid bond issued by an admitted surety insurer on the form                                                          • a bid bond issued by an admitted surety insurer on the form                 tice form is available         fictitious        business    ual                            filed with the County
     provided by the District,                                                                                              provided by the District,                                                   from the court clerk.          name listed above on          /s/ Aurica Frone               Clerk of Contra Costa
   • cash, or                                                                                                             • cash, or                                                                                                   N/A                           This statement was             on date indicated by
   • a cashier’s check or a certified check, drawn to the order of the                                                    • a cashier’s check or a certified check, drawn to the order of the           Attorney For Petition-         Expires 1/10/2024             filed with the County          file stamp above.
     West Contra Costa Unified School District,                                                                             West Contra Costa Unified School District,                                  er:                                 ECT# 6289420             Clerk      of      Alameda     Expires JANUARY 30,
in the amount of ten percent (10%) of the total bid price. This bid se-                                                 in the amount of ten percent (10%) of the total bid price. This bid se-         Jennifer Thaete                  Feb. 1, 8, 15, 22, 2019     County on date indi-           2024.
curity shall be a guarantee that the Bidder shall, within seven (7) calen-                                              curity shall be a guarantee that the Bidder shall, within seven (7) calen-      210523                                               FILED   cated by file stamp                 SRVT #6294544
dar days after the date of the Notice of Award, enter into a contract                                                   dar days after the date of the Notice of Award, enter into a contract           Law Office of                         JANUARY 28, 2019       above.                                 Feb. 15, 22;
with the District for the performance of the services as stipulated in                                                  with the District for the performance of the services as stipulated in          Jennifer Thaete                 Joseph E. Canciamilla,       Business commenced                   Mar. 1, 8, 2019
the bid.                                                                                                                the bid.                                                                        2600 Kitty Hawk Rd.,           County Clerk-Recorder         on 10-17-2008
                                                                                                                                                                                                        Ste. 108                                                                                                          FILED
                                                                                                                                                                                                                                          Contra Costa County        Expires FEB 11, 2024
7.The successful Bidder shall be required to furnish a 100% Perform- 7.The successful Bidder shall be required to furnish a 100% Perform-                                                               Livermore, CA 94551                 By L Fallas, Deputy           PT/VT#6295161
                                                                                                                                                                                                                                                                                                           JANUARY 29, 2019
ance Bond and a 100% Payment Bond if it is awarded the contract for ance Bond and a 100% Payment Bond if it is awarded the contract for                                                                 (925) 447-0134                   FILE NO. 2019-0000585               Feb 15, 22;
                                                                                                                                                                                                                                                                                                     Joseph E. Canciamilla,
the Project.                                                         the Project.                                                                                                                             TVH #6294934              FICTITIOUS BUSINESS                Mar 1, 8, 2019
                                                                                                                                                                                                                                                                                                    County Clerk-Recorder
                                                                                                                                                                                                           Feb. 15, 16, 22, 2019                                                                       Contra Costa County
                                                                                                                                                                                                                                          NAME STATEMENT
8.The successful Bidder may substitute securities for any monies with-                                                  8.The successful Bidder may substitute securities for any monies with-                                 FILED   The name of the busi-                                FILED      By C Pittman, Deputy
held by the District to ensure performance under the Contract, in ac-                                                   held by the District to ensure performance under the Contract, in ac-                  JANUARY 29, 2019        ness:          HIRAHARA              JANUARY 18, 2019          FILE NO. 2019-0000600
cordance with the provisions of section 22300 of the Public Contract                                                    cordance with the provisions of section 22300 of the Public Contract                       MELISSA WILK,       PROPERTIES located             Joseph E. Canciamilla,         FICTITIOUS BUSINESS
Code.                                                                                                                   Code.                                                                                        County Clerk      at 3595 Mt. Diablo            County Clerk-Recorder             NAME STATEMENT
                                                                                                                                                                                                                                                                        Contra Costa County         The name of the busi-
                                                                                                                                                                                                             ALAMEDA COUNTY            Blvd., Ste. 390, Lafay-
9.The successful Bidder and its subcontractors shall pay all workers on                                                 9.The successful Bidder and its subcontractors shall pay all workers on              By ----------, Deputy     ette, CA 94549 in Con-             By M Favro, Deputy        ness: L & N DESIGN lo-
the Project not less than the general prevailing rate of per diem wages                                                 the Project not less than the general prevailing rate of per diem wages                   FILE NO. 554584      tra Costa County is             FILE NO. 2019-0000383        cated at 1244 Rose Ln.,
and the general prevailing rate for holiday and overtime work as deter-                                                 and the general prevailing rate for holiday and overtime work as deter-          FICTITIOUS BUSINESS           hereby registered by           FICTITIOUS BUSINESS           Lafayette, CA 94549 in
mined by the Director of the Department of Industrial Relations, State                                                  mined by the Director of the Department of Industrial Relations, State             NAME STATEMENT              the following own-               NAME STATEMENT              Contra Costa County
of California, for the type of work performed and the locality in which                                                 of California, for the type of work performed and the locality in which                Pursuant To             er(s):                        The name of the busi-          is hereby registered
the work is to be performed within the boundaries of the District, pur-                                                 the work is to be performed within the boundaries of the District, pur-               Business and             Carle Hirahara, Trust-        ness:            FASTWAY       by the following own-
suant to sections 1770 et seq. of the California Labor Code. Prevailing                                                 suant to sections 1770 et seq. of the California Labor Code. Prevailing             Professions Code           ee of the Hirahara            TRANSPORTATION lo-             er(s):
wage rates are available from the District or on the Internet at: <http:/                                               wage rates are available from the District or on the Internet at: <http:/        Sections 17900-17930          Family Trust                  cated at 1620 Adelaide         Elizabeth Wilkinson
/www.dir.ca.gov>. Bidders and Bidders’ subcontractors shall comply                                                      /www.dir.ca.gov>. Bidders and Bidders’ subcontractors shall comply              The name of the busi-          6506 Horsemans Can-           St., #29, Concord, CA          1244 Rose Ln.
with the registration and qualification requirements pursuant to sec-                                                   with the registration and qualification requirements pursuant to sec-           ness:       WHITE       HAT    yon Dr.                       94520 in Contra Costa          Lafayette, CA 94549
tions 1725.5 and 1771.1 of the California Labor Code.                                                                   tions 1725.5 and 1771.1 of the California Labor Code.                           PROPERTY MANAGE-               Walnut Creek, CA              County is hereby reg-          This business is con-
                                                                                                                                                                                                                                                                     istered by the follow-         ducted by: An Individ-
                                                                                                                                                                                                        MENT SERVICES locat-           94595
10.The District requires 5% retention.                                                                                  10.The District requires 5% retention.                                          ed at 2300 First St.,          This business is con-         ing owner(s):                  ual
                                                                                                                                                                                                                                                                     Richard                Mark    Business commenced
                                                                                                                                                                                                        Ste. 316, Livermore, CA        ducted by: A Trust
11.A MANDATORY pre-bid conference and site visit will be held on Feb-                                                   11.Two Mandatory pre-bid conference and site visits will be held on             94550       in     Alameda     Business commenced            Chauvenne                      on N/A.
ruary 26, 2019 at 10:00 a.m. at the front quad Richmond High School                                                     February 19, 2019, and February 21, 2019 at 12:30 p.m. Meet at the inter-                                                                    1620 Adelaide St., #29         /s/ Elizabeth Wilkin-
1250 23rd Street, Richmond CA 94804. All participants are required to                                                                                                                                   County is hereby reg-          on 7/9/1993.
                                                                                                                        im campus area, 2900 Pinole Valley Road, Pinole CA 94564. All partici-          istered by the follow-         /s/ Carle Hirahara,           Concord, CA 94520              son
sign in. Failure to attend will render Contractor’s bid ineligible.                                                     pants are required to sign in. Failure to attend one site visit will render     ing owner(s):                  Trustee of Registrant         This business is con-          This statement was
                                                                                                                        Contractor’s bid ineligible.                                                    White Hat Property             This statement was            ducted by: An Individ-         filed with the County
12.Contract Documents may be obtained through BPXpress on or after                                                                                                                                      Management             Serv-   filed with the County         ual                            Clerk of Contra Costa
February 13, 2019. Contractors will be required to pay ($60.00 per set)       12.Contract Documents may be obtained through BPXpress on or after                                                        ices, Inc.                     Clerk of Contra Costa         Business commenced             on date indicated by
for Contract Documents at the time of pick-up or before delivery. Con-        February 12, 2019. Contractors will be required to pay ($175.00 per set)                                                                                                               on 1/8/19.                     file stamp above.
                                                                                                                                                                                                        2300 First St., Ste. 316       on date indicated by
tractors will have the option of either picking up Contract Documents         for Contract Documents at the time of pick-up or before delivery. In ad-                                                  Livermore, CA 94550            file stamp above.             /s/      Richard       Mark    Expires JANAURY 29,
at BPXpress, 4903 Central Avenue, Richmond, CA (510-559-8299), Fax            dition, there are (152 sheets) of As-Built drawings that can be viewed                                                    California                     Expires JANUARY 28,           Chauvenne                      2024.
(510-559-8398) or to have Contract Documents delivered to their place         at no cost or downloaded for a fee. Contractors will have the option of                                                   This business is con-          2024.                         This statement was                   CCT #6288381
of business, at their own expense. The charge for documents is NON-           either picking up Contract Documents at BPXpress, 4903 Central Ave-                                                       ducted by: a Corpora-               SRVT #6294993            filed with the County            Feb. 1, 8, 15, 22, 2019
REFUNDABLE. For information pertaining to the Contract Documents,             nue, Richmond, CA Phone (510-559-8299), Fax (510-559-8398) or to have                                                     tion                                   Feb. 15, 22;          Clerk of Contra Costa
contact Imelda Sanchez at (510) 307-4676.                                     Contract Documents delivered to their place of business, at their own                                                     Business commenced                   Mar. 1, 8, 2019         on date indicated by
                                                                              expense. The charge for documents is NON-REFUNDABLE. For informa-                                                         on Jan. 1, 2019.                                             file stamp above.
13.The District’s Board reserves the right to reject any and all bids tion pertaining to the Contract Documents, contact Imelda Sanchez at                                                              /s/ Sheri Guzolek,                   FILED FEB. 11, 2019     Expires JANUARY 18,
and/or waive any irregularity in any bid received. If the District awards (510) 307-4676.                                                                                                                    President                                 JOSEPH E.     2024.
the Contract, the security of unsuccessful bidder(s) shall be returned                                                                                                                                  This statement was                        CANCIAMILLA              CCT #6284593
within sixty (60) days from the time the award is made. Unless other- 13.The District’s Board reserves the right to reject any and all bids                                                             filed with the County                       County Clerk               Jan. 25;
wise required by law, no bidder may withdraw its bid for ninety (90) and/or waive any irregularity in any bid received. If the District awards                                                          Clerk      of      Alameda              CONTRA COSTA             Feb. 1, 8, 15, 2019
days after the date of the bid opening.                                       the Contract, the security of unsuccessful bidder(s) shall be returned                                                    County on date indi-                             COUNTY             FILED FEB. 7, 2019      1RWLFH LV KHUHE\ JLYHQ
                                                                              within sixty (60) days from the time the award is made. Unless other-                                                     cated by file stamp                           BY: L. MAE                      JOSEPH E.     WKDW VHDOHG ELGV IRU WKH
14.The District shall award the Contract, if it awards it at all, to the low- wise required by law, no bidder may withdraw its bid for ninety (90)                                                      above.                                 DEPUTY COUNTY                    CANCIAMILLA         (PSLUH $YHQXH DQG
est responsive responsible bidder based on: the total base bid amount days after the date of the bid opening.                                                                                           Expires JANUARY 29,                                 CLERK                 County Clerk      *DWHZD\ 'ULYH 6LJ
only.                                                                                                                                                                                                   2024.                                    FILE#2019-0897               CONTRA COSTA          QDOL]DWLRQ 3URMHFW Õ
                       WCT 6292598 Feb. 8, 15, 2019                           14.The District shall award the Contract, if it awards it at all, to the low-                                                   TVH #6294758              FICTITIOUS BUSINESS                             COUNTY      &,3  DGGUHVVHG WR
                            City of San Pablo                                 est responsive responsible bidder based on: the base bid amount only.                                                             Feb. 15, 22;              NAME STATEMENT                         BY: L. FALLAS      WKH &LW\ RI 2DNOH\ ZLOO
                                                                                                                                                                                                                                       The name of the busi-                                        EH UHFHLYHG E\ WKH &LW\
                                                                                                                                                                                                              Mar. 1, 8, 2019                                                DEPUTY COUNTY
                                       NOTICE INVITING BIDS                                                                                   WCT 6292604 Feb. 8, 15, 2019                                                             ness: JJ Plumbing &                                 CLERK    &OHUN  0DLQ 6WUHHW
                                                                                                                        NOTICE OF PUBLIC SALE: Self-storage unit con-                                         FILED Jan. 23, 2019      Drain       Cleaning a t                                     2DNOH\ &$  XS WR
                                                                                                                                                                                                                                                                               FILE#2019-0809
                           FY 2018-19 Pavement Repair Project                                                                                                                                                            JOSEPH E.     2817 Robert Ct. Pinole,                                       SP 7KXUVGD\
                                                                                                                        tents of the following customers containing
                                                                                                                        household and other goods will be sold for
                                                                                                                                                                            Legal Notice                           CANCIAMILLA,        Ca. 94564 CCC mailing
                                                                                                                                                                                                                                                                      FICTITIOUS BUSINESS
                                                                                                                                                                                                                                                                        NAME STATEMENT              0DUFK   DW
                     City of San Pablo Project Number: MAR-600                                                                                                              g                                        County Clerk      address: 623 18th St.                                        ZKLFK WLPH WKH\ ZLOO
                                                                                                                        cash by CubeSmart to satisfy a lien on Febru-                                                      CONTRA      Richmond, Ca. 94801
                                                                                                                                                                                                                                                                     The name of the busi-
                                                                                                                        ary 21st, 2019 at approx. 1:00PM at CubeSmart,    You  may want to con-                                                                      ness: Call to Service          EH SXEOLFO\ RSHQHG
                              Bid Start Date: February 13, 2019                                                                                                                                                  COSTA COUNTY          is hereby registered
                                                                                                                        3101 Valley Ave., Pleasanton, CA, 94566: sult with an attorney                   By, P. Cornelius, Depu-       by      the      following
                                                                                                                                                                                                                                                                     at 472 E 9th St.               DQG UHDG )RU WKH IXOO
                                                                                                                        [Sangeeta Chandra]                                knowledgeable  in Cal-                                                                     Pittsburg, Ca. 94565           QRWLFH SOHDVH FDOO %LO
                             Non-Mandatory Pre-Bid Meeting:                                                                                                               ifornia law.                            ty County Clerk      owner(s):                                                    OLOHH     6DHQJFKDOHUQ
                                                                                                                               PT/VT #6287430; Feb. 8, 15, 2019                                               FILE NO. 2019-0448       Jorge Rodriguez H
                                                                                                                                                                                                                                                                     Contra Costa Co. is
                                 March 5, 2019 at 2:00 PM                                                                                                                                                                                                            hereby registered by                      RU
                             13831 San Pablo Avenue, Bldg., 2                                                                           NOTICE OF LIEN SALE                  You may examine the         FICTITIOUS BUSINESS           623 18th St.                  the               following    HPDLO VDHQJFKDOHUQ#
                                     Conference Room                                                                                                                         file kept by the court.       NAME STATEMENT              Richmond, Ca. 94801                                          FLRDNOH\FDXV
                                                                                                                                                                                                                                                                     owner(s):
                                    San Pablo, CA 94806                                                                 Date and time of sale: 02/23/2019 at 11:00 a.m.      If you are a person in-    The name of the busi-          This business is con-         LaTanya Williams                      :%
                                                                                                                                                                             terested in the estate,    ness is:                       ducted by:                    472 E 9th St.                             (&7
                       Bid Close Date: March 14, 2019 at 2:00 PM                                                        Unit #    Tenant Name                                you may file with the      KABAB HOUSE locat-             an individual                 Pittsburg, Ca. 94565                )HEUXDU\  
                                                                                                                        C104       Diana Chandler                            court a Request for        ed at 1801 Hillcrest           /s/Jorge Rodriguez            This business is con-
The City of San Pablo (“City”), will accept sealed bids for its FY 2018-19                                              Artwork, Antiques, lots of boxes, clothes, furni-    Special Notice (form       Ave.       Antioch,       CA   This statement was            ducted by:                     ),/('
Pavement Repair Project (“Project”), by or before March 14, 2019, at                                                    ture                                                 DE-154) of the filing of   94509, Contra Costa            filed with the County         an individual                  )HEUXDU\  
2:00 p.m., at the City Clerk’s office, located at 13831 San Pablo Avenue,                                               Name & Location of Storage Facility:                 an inventory and ap-       County, is hereby reg-         Clerk of Contra Costa         /s/LaTanya Williams                     &2175$ &267$
Building #1, San Pablo, California, 94806 at which time the bids will be                                                Rodie’s RV & Self Storage, 8863 Marsh Creek          praisal of estate as-      istered by the                 on date indicated by          This statement was                              &2817<
publicly opened and read aloud.                                                                                         Rd., Clayton, CA 94517, (925) 672-4600               sets or of any petition    following owner(s):            file stamp above.             filed with the County            -RVHSK ( &DQFLDPLOOD
                                                                                                                                  CCT 6293427 Feb. 15, 22, 2019              or account as provided     Asadullah Noori                Business commenced            Clerk of Contra Costa                       &RXQW\ &OHUN
The Project is located at:                                                                                                                                                   in Probate Code sec-       529 Eaker Way                  on 02/11/2019
                                                                                                                        NOTICE TO DEFENDANTS: NATHAN SAHAR                                              Antioch, CA 94509              Expires 02/11/2024
                                                                                                                                                                                                                                                                     on date indicated by                    &2175$ &267$
(1) Market Street from 23rd Street to Vila Drive, (2) Mission Bell Road                                                 a.k.a. HASEEB SAHAR, an Individual, JOSEPH           tion 1250. A Request                                                                    file stamp above.                               &2817<
from El Portal Drive to College Avenue, (3) Road 20 from Abella Circle to                                                                                                    for    Special   Notice    Mahboob Safie                        WCT 6295087
                                                                                                                        SAHAR, a.k.a. HABEEB SAHAR an Individual, MI-                                   1069 Mohr. Ln. #A                      Feb. 15, 22;
                                                                                                                                                                                                                                                                     Business commenced                   %\ / 0DH 'HSXW\
El Portal Drive, and (4) Parcel A (MS 776-16, APN 417-310-009), and is de-                                              CHELE SHEBA SAHAR an Individual, and DOES 1          form is available from                                                                  on n/a                                )LOH 1R )
scribed as follows: mobilization; traffic control; installation and main-                                                                                                    the court clerk.           Concord, CA 94518                    Mar. 1, 8, 2019
                                                                                                                        to 25, YOU ARE BEING SUED BY PLAINTIFF:                                         This business is                                             Expires 02/07/2024                ),&7,7,286 %86,
tenance during construction of stormwater pollution prevention meas-                                                    SAID SHEFAYEE JR. CASE NUMBER: MSC18-                                                                                 FILED FEB. 6, 2019            ECT 6294396                        1(66
ures; removal and replacement of concrete curb ramps, sidewalks, and                                                                                                       Attorney For                 conducted
                                                                                                                        01416. The name and address of the Court is                                     by: A General Partner-                         JOSEPH E.             Feb. 15, 22;             1$0( 67$7(0(17
curb & gutters; grinding existing pavement; transport, removal and off                                                  Contra Cost County Superior Court 725 Court        Petitioner:                                                            CANCIAMILLA              Mar. 1, 8, 2019                3XUVXDQW 7R
haul of grounded materials; placing, spreading, and compacting new                                                                                                         Juliana M. Zolynas           ship
                                                                                                                        St. Martinez, CA 94553. The name, address and                                   /s/ Asadullah Noori                         County Clerk           FILED FEB. 11, 2019
                                                                                                                                                                                                                                                                                                         %XVLQHVV DQG
asphalt concrete pavement; adjusting utility irons to final grade; pro-                                                 telephone number of plaintiff’s attorney is        TRUTNER LAW                                                          CONTRA COSTA                                          3URIHVVLRQV &RGH
tecting existing facilities in place; removing existing pavement mark-                                                                                                     OFFICES                      This statement was                                                            JOSEPH E.
                                                                                                                        Raymond Miller. 225 W. Winton Ave. Ste. 125.                                    filed with the County                            COUNTY                 CANCIAMILLA
                                                                                                                                                                                                                                                                                                        6HFWLRQV 
ings and striping; installing new pavement markings and striping; re-                                                   Hayward, CA 94544 (510) 938-0075.                  2109 Fourth St.                                                            BY: L. MAE                                              
moval of existing street light foundation; salvaging and removal of                                                                                                        Livermore, CA 94550          Clerk of Contra Costa                                                     County Clerk
                                                                                                                                                                                                        on date indicated by                   DEPUTY COUNTY                  CONTRA COSTA
                                                                                                                                                                                                                                                                                                    7KH QDPH RI WKH EXVL
street light poles; grinding and pulverizing existing parking lot pave-                                                 NOTICE! You have been sued. The court may (925) 447-1222                                                                            CLERK                                   QHVV 2GHVVD 5\H 3&%
ment; stockpiling pulverized asphalt pavement material; cleanup of                                                                                                              TVH # 6288466           file stamp above.                                                               COUNTY
                                                                                                                        decide against you without your being heard                                     The registrant com-                      FILE#2019-0789                      BY: L. MAE
                                                                                                                                                                                                                                                                                                    ORFDWHG DW  5DGLDQW
project site; and demobilizing equipment, tools and manpower from                                                       unless you respond within 30 days. Read the           Feb. 6, 11, 15, 2019                                      FICTITIOUS BUSINESS                                         /Q 6DQ 5DPRQ &RQ
site.                                                                                                                                                                                                   menced to transact                                                   DEPUTY COUNTY
                                                                                                                        information below. You have 30 CALENDAR                                                                           NAME STATEMENT                                            WUD &RVWD &RXQW\ &$
                                                                                                                        DAYS after this summons and legal papers are         NOTICE OF                  business under the
                                                                                                                                                                                                        fictitious         business    The name of the busi-
                                                                                                                                                                                                                                                                                           CLERK
                                                                                                                                                                                                                                                                               FILE#2019-0896
                                                                                                                                                                                                                                                                                                     LV KHUHE\ UHJLV
Download Available at https://www.planetbids.com/portal/portal.cfm                                                      served on you to file a written response at this     PETITION                                                  ness: Pat Carver Me-                                         WHUHG E\ WKH IROORZLQJ
?CompanyID=39472                                                                                                                                                                                        name listed above on                                          FICTITIOUS BUSINESS
                                                                                                                        court and have a copy served on the plaintiff.                                                                 d i a at 744 35th St.                                        RZQHU V 
                                                                                                                        A letter or phone call will not protect you. Your    TO ADMINISTER              N/A
                                                                                                                                                                                                                                       Richmond, Ca. 94805
                                                                                                                                                                                                                                                                        NAME STATEMENT              ,UHQH 5DGLRQRY
                   Find jobs to bid - City of San Pablo                                                                                                                                                 Expires 1/23/2024                                            The name of the busi-
NOTE: The bidder must be on the plan holder’s list to submit a bid. It is
                                                                                                                        written response must be in proper legal form        ESTATE OF:                       ECT# 6287944             Contra Costa Co. is           ness: JJ Rooter &
                                                                                                                                                                                                                                                                                                     5DGLDQW /Q 6DQ 5D
                                                                                                                        if you want the court to hear your case. There                                                                 hereby registered by                                         PRQ &$ 
the responsibility of each prospective bidder to confirm his/her firm is                                                may be a court form that you can use for your               ERIC D. FROST         Feb. 1, 8, 15, 22, 2019
                                                                                                                                                                                                                                       the              following
                                                                                                                                                                                                                                                                     Plumbing at 623 18th           7KLV EXVLQHVV LV FRQ
                                                                                                                                                                                                                                                                     St.    Richmond,         Ca.
on the planholder’s list held at PlanetBids to ensure receipt of any sub-
sequent communications, such as Addenda. Amended bids received
                                                                                                                        response. You can find these court forms and               CASE NUMBER:                                FILED   owner(s):                     94801 CCC is hereby
                                                                                                                                                                                                                                                                                                    GXFWHG E\ DQ LQGL
                                                                                                                        more information at the California Courts On-                RP19006143                        FEB. 4, 2019    Patricia Carver               registered by the fol-
                                                                                                                                                                                                                                                                                                    YLGXDO
without the applicable addenda will be rejected as incomplete.                                                          line Self-Help Center (www.courtinfo.ca.gov/                                           J.E. CANCIAMILLA        744 35th St.                                                 %XVLQHVV FRPPHQFHG
                                                                                                                        selfhelp), your county law library, or the court-                                                                                            lowing owner(s):
                                                                                                                                                                                                                     County Clerk      Richmond, Ca. 94805                                          RQ -DQXDU\  
                All responses must be received by March 14, 2019                                                        house nearest you. If you cannot pay the filing To all heirs, beneficia-                 CONTRA COSTA          This business is con-
                                                                                                                                                                                                                                                                     Jorge Rodriguez H              ([SLUHV )HEUXDU\ 
                             not later than 2:00 p.m.                                                                   fee, ask the court clerk for a fee waiver form. If ries, creditors, contin-                        COUNTY      ducted by:
                                                                                                                                                                                                                                                                     623 18th St.                   
                                                                                                                        you do not file your response on time, you may gent creditors, and                     By -------- Deputy      an individual
                                                                                                                                                                                                                                                                     Richmond, Ca. 94801            V ,UHQH 5DGLRQRY
Publication Information:                                                                                                lose the case by default, and your wages, mon- persons who may oth-                   STATEMENT OF             /s/Patricia Carver
                                                                                                                                                                                                                                                                     This business is con-
                                                                                                                                                                                                                                                                                                           :%
https://www.planetbids.com/portal/portal.cfm?CompanyID=39472                                                            ey, and property may be taken without further erwise be interested                 ABANDONMENT OF              This statement was
                                                                                                                                                                                                                                                                     ducted by:
                                                                                                                                                                                                                                                                                                               6597
                                                                                                                        warning from the court. There are other legal in the will or estate, or           USE OF FICTITIOUS            filed with the County
                                                                                                                                                                                                                                                                     an individual
                                                                                                                                                                                                                                                                                                     )HEUXDU\   0DUFK
Closing Date/Time:                                                                                                      requirements. You may want to call an attor- both, of: ERIC                D.       BUSINESS NAME              Clerk of Contra Costa
                                                                                                                                                                                                                                                                     /s/Jorge Rodriguez
                                                                                                                                                                                                                                                                                                               
3/14/2019 at 2:00 PM                                                                                                    ney right away. If you do not know an attor- FROST.                             The               following    on date indicated by
                                                                                                                                                                                                                                                                     This statement was
                                                                                                                        ney, you may want to call an attorney referral                                                                                               filed with the County
                                                                                                                                                                                                        person(s) HAS aban-            file stamp above.                                            Extra Space Storage
Submittal Information:                                                                                                  service. If you cannot afford an attorney, you A Petition for Probate           doned the use of the           Business commenced
                                                                                                                                                                                                                                                                     Clerk of Contra Costa
                                                                                                                                                                                                                                                                                                    will hold a public auc-
City of San Pablo, City Clerk,                                                                                          may be eligible for free legal services from a has been filed by:               Fictitious        Business     on 01/01/2014 at 8473
                                                                                                                                                                                                                                                                     on date indicated by
                                                                                                                                                                                                                                                                                                    tion to sell personal
13831 San Pablo Ave. Bldg. 1, San Pablo, CA 94806                                                                       nonprofit legal services program. You can lo- GORDON J. FROST in                Name Moraga Auto               Pinehollw Cir. Discov-
                                                                                                                                                                                                                                                                     file stamp above.
                                                                                                                                                                                                                                                                                                    property      described
                                                                                                                        cate these nonprofit groups at the Califor- the Superior Court of               Care & Service at 1135         ery Bay, CA 94505
                                                                                                                                                                                                                                                                     Business commenced
                                                                                                                                                                                                                                                                                                    below belonging to
Contact Person:                                                                                                         nia Legal Services Web site (www.lawhelp California, County of                  Moraga Way, Moraga,            Expires 02/06/2024
                                                                                                                                                                                                                                                                     on 02/11/2019
                                                                                                                                                                                                                                                                                                    those individuals list-
Allan Panganiban                                                                                                        california.org), the California Courts Online ALAMEDA.                          CA 94556 Business                    WCT 6294820
                                                                                                                                                                                                                                                                     Expires 02/11/2024
                                                                                                                                                                                                                                                                                                    ed below at the loca-
Senior Civil Engineer                                                                                                   Self-Help Center (www.courtinfo.ca.gov/self                                                                                                        WCT 6295080
                                                                                                                                                                                                        sold in 2018                           Feb. 15, 22;                                         tion indicated:
(510) 215-3062                                                                                                          help), or by contacting your local court or The Petition for Pro-                  The fictitious busi-              Mar. 1, 8, 2019
                                                                                                                                                                                                                                                                             Feb. 15, 22;
                                                                                                                                                                                                                                                                                                    2201 Clement Ave,
AllanN@sanpabloca.gov                                                                                                   county bar association. NOTE: The court has a bate requests that                ness name referred to                                              Mar. 1, 8, 2019
                                                                                                                                                                                                                                                                                                    Alameda CA 510-458-
                                                                                                                        statutory lien for waived fees and costs on any GORDON J. FROST be              above was filed on             ),/('
                                                                                                                                                                                                                                                                     ),/('                          3050      Sale     Date
                               WCT 6295095 February 15, 2019                                                            settlement or arbitration award of $10,000 or appointed as personal             06/07/2017 in Contra           -DQXDU\  
                                                                                                                                                                                                                                                                     )HEUXDU\                 2/26/2019 at 10:30 AM
                                                                                                                        more in a civil case. The court’s lien must be representative to ad-            Costa County under                      &2175$ &267$
                                                                                                                                                                                                                                                                             &2175$ &267$
                       United States Bankruptcy Court for the Northern District of California
                                                                                                                        paid before the court will dismiss the case.       minister the estate of       file               number                        &2817<
                                                                                                                                                                           the decedent.                                                 -RVHSK ( &DQFLDPLOOD                        &2817<        Tenants and items:
Debtors: PG&E Corporation and Paciﬁc Gas and Electric Company                                                               CCT #6294902; Feb. 15, 22; Mar. 1, 8, 2019                                  20170003535-00                                                 -RVHSK ( &DQFLDPLOOD
                                                                                                                                                                                                                                                    &RXQW\ &OHUN
Datecasesﬁledinchapter11: 01/29/2019                                                                                                                                                                    John J. Crawford                                                         &RXQW\ &OHUN       Gordon       Anthony
                                                                                                                        NOTICE OF                                            The Petition requests      2201 Commerce Ave.
                                                                                                                                                                                                                                                &2175$ &267$
Casenumber: 19-30088(DM)(LeadCase;JointlyAdministered)                                                                                                                                                                                                                       &2175$ &267$           Romei
Notice of Chapter 11 Bankruptcy Cases                                                                                   PETITION                    Legal Notice             authority to adminis-
                                                                                                                                                                             ter the estate under
                                                                                                                                                                                                        Concord, Ca. 94520
                                                                                                                                                                                                                                                         &2817<
                                                                                                                                                                                                                                           %\ -RVHSK ( &DQFLD                        &2817<        Shelving,     try-pod
    For the debtors listed above, cases have been ﬁled under chapter 11 of the Bankruptcy Code and orders for                                           p p                                             This business was                                                       %\  'HSXW\      Small       Keyboard
relief have been entered.This notice has important information about the cases for creditors,debtors,and trustees,      TO ADMINISTER              The independent ad-
                                                                                                                                                                             the Independent Ad-
                                                                                                                                                                             ministration of Es-
                                                                                                                                                                                                        conducted by:
                                                                                                                                                                                                                                                    PLOOD 'HSXW\
                                                                                                                                                                                                                                              )LOH 1R )           )LOH 1R )       sound      equipment
includinginformationaboutthemeetingofcreditorsanddeadlines.                                                             ESTATE OF:                 ministration authority    tates Act. (This au-
                                                                                                                                                                                                        an individual
                                                                                                                                                                                                        /s/John J. Crawford
                                                                                                                                                                                                                                          ),&7,7,286 %86,              ),&7,7,286 %86,
                                                                                                                                                                                                                                                                               1(66
                                                                                                                                                                                                                                                                                                    Misc items
    The ﬁling of the cases imposed an automatic stay against most collection activities.This means that creditors                                  will be granted unless    thority will allow the                                               1(66
                                                                                                                                                   an interested person                                 This statement was                                             1$0( 67$7(0(17               Matthew Strickland
generally may not take action to collect debts from the debtors or the debtors’property.For example,while the stay                                                           personal representa-                                        1$0( 67$7(0(17
is in effect,creditors cannot sue,assert a deﬁciency,repossess property,or otherwise try to collect from the debtors.       VALLA R. COWAN         files an objection to     tive to take many ac-
                                                                                                                                                                                                        filed with the County
                                                                                                                                                                                                        Clerk of Contra Costa
                                                                                                                                                                                                                                            3XUVXDQW 7R                   3XUVXDQW 7R               tools, camping gear,
                                                                                                                                                                                                                                                                                                    household items, fur-
Creditors cannot demand repayment from the debtors by mail,phone,or otherwise.Creditors who violate the stay
canberequiredtopayactualandpunitivedamagesandattorney’sfees.
                                                                                                                             CASE NUMBER:          the petition and shows
                                                                                                                                                   good cause why the
                                                                                                                                                                             tions without obtain-
                                                                                                                                                                             ing court approval.
                                                                                                                                                                                                        County on the date in-
                                                                                                                                                                                                                                            %XVLQHVV DQG
                                                                                                                                                                                                                                         3URIHVVLRQV &RGH
                                                                                                                                                                                                                                                                          %XVLQHVV DQG
                                                                                                                                                                                                                                                                       3URIHVVLRQV &RGH             niture, boxes
    Conﬁrmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular             RP19003697           court should not grant    Before taking certain
                                                                                                                                                                                                        dicated by the file                6HFWLRQV                6HFWLRQV 
                                                                                                                                                   the authority.                                       stamp above.                                                                      Matthew Strickland
debt excepted from discharge may be required to ﬁle a complaint in the bankruptcy clerk’s ofﬁce within the deadline                                                          very important ac-                CCT 6295462
speciﬁedinthisnotice.(Seeline11belowformoreinformation.)                                                                To all heirs, beneficia-                             tions, however, the                                       7KH QDPH RI WKH EXVL         7KH QDPH RI WKH EXVL          art,   music    equip,
                                                                                                                        ries, creditors, contin-   A hearing on the peti-                                       Feb. 15, 22;           QHVV 7KH $ODUP *X\V         QHVV $ - -DQLWRULDO           bikes, misc.
    To protect your rights,consult an attorney.All documents ﬁled in the cases may be inspected at the bankruptcy                                                            personal representa-             Mar. 1, 8, 2019
clerk’sofﬁceattheaddressbeloworthroughPACER(PublicAccesstoCourtElectronicRecordsatwww.pacer.gov).                       gent creditors, and        tion will be held in      tive will be required to                                  7$* /HQKDUW %ODFN          6HUYLFHV
                                                                                                                        persons who may oth-       this court as follows:    give notice to interest-                                  VWDU 6HFXULW\                 ORFDWHG DW  .LOODU        Larry Fischberg
    The staff of the bankruptcy clerk’s ofﬁce cannot give legal advice. Do not ﬁle this notice with any                                                                                                                                                                                             Household Items
                                                                                                                        erwise be interested in    Date: 03/05/2019          ed persons unless                                         ORFDWHG DW  +DUERU        QH\ 'ULYH 6DQ 3DEOR 
proofofclaimorotherﬁlinginthecases.                                                                                     the will or estate, or                                                                                         6WUHHW 3LWWVEXUJ &RQ       &RQWUD &RVWD &RXQW\
    1. Debtors’ full names: Debtor, Address, Case No., EIN#: PG&E Corporation, 77 Beale Street, P.O. Box                                           Time: 9:31 AM             they have waived no- ),/('
                                                                                                                        both,    of:               Dept.: 201                tice or consented to )HEUXDU\                       WUD &RVWD &RXQW\ &$          &$  LV KHUHE\ UHJ        Kenneth Gourdine
77000, San Francisco, California 94177, 19-30088 (DM), XX-XXXXXXX; Paciﬁc Gas and Electric Company, 77 Beale            VALLA     R. COWAN,                                                                                             LV KHUHE\ UHJLV        LVWHUHG E\ WKH IROORZ         Household goods
Street,P.O.Box 77000,San Francisco,California 94177,19-30089 (DM),XX-XXXXXXX.                                                                      Address of court:         the proposed action.)         $/$0('$ &2817<
                                                                                                                        VALLA RUTH COWAN,          SUPERIOR COURT OF         The independent ad-               0(/,66$ :,/.            WHUHG E\ WKH IROORZLQJ        LQJ RZQHU V 
    2. All other names used in the last 8 years: n/a                                                                    and VALLA COWAN                                                                                                RZQHU V                      $ODQ *XHYDUD                   John Tessandori
                                                                                                                                                   CALIFORNIA, COUNTY        ministration authority              &RXQW\ &OHUN
    3. Address: See above                                                                                                                          OF ALAMEDA, 2120          will be granted unless        $/$0('$ &2817<              %ULJKW 6HFXULW\ ,QWH          .LOODUQH\ 'ULYH          Furniture from estate
    4. Debtors’Attorneys: Tobias S.Keller (#151445),KELLER & BENVENUTTI LLP,650 California Street,Suite 1900,           A Petition for Probate     Martin Luther King Jr.                                                              JUDWLRQV //&                 6DQ 3DEOR  &$ 
                                                                                                                                                                             an interested person             %\ 0HOLVVD :LON
San Francisco, CA 94108 -and- Stephen Karotkin (pro hac vice), WEIL, GOTSHAL & MANGES LLP, 767 Fifth Avenue,            has been filed by:         Wy.,    Berkeley,    CA   files an objection to                      'HSXW\          +DUERU 6WUHHW           -RKDQQ\ 8EHGD                  Harold Herndon
NewYork,NY 10153. Debtors’Claims and Noticing Agent: If you have questions about this notice,please                     Cathy L. Cowan and         94704.                    the     petition    and           )LOH 1R          3LWWVEXUJ &$             .LOODUQH\ 'ULYH          Bins, Clothes, Kitchen-
contact Prime Clerk LLC. Contact Phone: (844) 339-4217 (Toll Free), +1 (929) 333-8977 (Int’l). Email:                   Rory B. Cowan in the       Branch: PROBATE           shows good cause           ),&7,7,286 %86,               7KLV EXVLQHVV LV FRQ         6DQ 3DEOR &$             ware,
pgeinfo@primeclerk.com. Website: https://restructuring.primeclerk.com/pge                                               Superior Court of Cali-                                                                                        GXFWHG E\ D /LPLWHG          7KLV EXVLQHVV LV FRQ
                                                                                                                                                                             why the court should              1(66
    5. Bankruptcy clerk’s ofﬁce: U.S. Bankruptcy Court, 450 Golden Gate Avenue, Mail Box 36099, San                     fornia, County of ALA- If you object to the          not grant the authori- 1$0( 67$7(0(17
                                                                                                                                                                                                                                       /LDELOLW\ &R                 GXFWHG E\ D -RLQW 9HQ        Autumn Valjien
Francisco, CA 94102. Hours open: Monday-Friday, 9 a.m.- 4:30 p.m. (CT). Contact phone: 888-821-7606.                    MEDA.                    granting of the peti-                                     3XUVXDQW 7R                 %XVLQHVV FRPPHQFHG            WXUH                           Photo          Albums,
                                                                                                                                                                             ty.                                                       RQ 'HFHPEHU 
Documents in these cases may be ﬁled at this address.You may inspect all records ﬁled in these cases at this ofﬁce                               tion, you should ap-                                      %XVLQHVV DQG                                              %XVLQHVV FRPPHQFHG             clothes, art supplies
or online at www.pacer.com.                                                                                             The Petition for Pro- pear at the hearing                                       3URIHVVLRQV &RGH               1$                           RQ )HEUXDU\  
                                                                                                                                                                             A hearing on the peti-                                    ([SLUHV 
    6. Meeting of creditors: Date and Time: Monday March 4, 2019 at 10:00 a.m. Location: Phillip Burton                 bate requests that       and state your objec-       tion will be held in        6HFWLRQV                                              ([SLUHV              Lavar Grey
Federal Building and U.S. Courthouse, 450 Golden Gate Avenue, 2nd Floor, California Conference Room, San                Rory B. Cowan be ap- tions or file written ob-                                                            V'HUHN       %UDGVKDZ      $ODQ *XHYDUD                   Clothes,    household
                                                                                                                                                                             this court as follows:                                    &KLHI 2SHUDWLQJ 2IILFHU
Francisco, CA 94102.The debtors’ representative must attend the meeting to be questioned under oath. Creditors          pointed as personal jections with the court          Date: 03/20/2019         7KH  QDPH   RI  WKH EXVL                                            :%                goods, furniture
may attend, but are not required to do so. The meeting may be continued or adjourned to a later date. If so, the        representative to ad- before the hearing.            Time: 9:31 AM            QHVV 7UL 9DOOH\ (QG                   :%                        :&7
date will be on the court docket.                                                                                       minister the estate of Your appearance may           Dept.: 201               RGRQWLFV                                     (&7                )HEUXDU\   0DUFK        Anne Sanders
    7. Proof of claim deadline: Deadline for ﬁling proof of claim: To Be Determined. A proof of claim is a              the decedent.            be in person or by          Address of court:        ORFDWHG DW  6WRQHU            -DQXDU\  )HEUXDU\                                Boxes, Clothes
                                                                                                                                                                                                                                                 
signed statement describing a creditor’s claim.A proof of claim form may be obtained at www.uscourts.gov or any                                  your attorney.              SUPERIOR COURT OF LGJH 0DOO 5G 
bankruptcy clerk’s office.Your claim will be allowed in the amount scheduled unless: • your claim is designated         The Petition requests                                CALIFORNIA,       COUN- 3OHDVDQWRQ $ODPHGD                                                  FILED FEB. 12, 2019       Jonathon David Day
                                                                                                                        the decedent’s will If you are a creditor or                                                                         FILED FEB. 1, 2019                                     Household items and
as disputed, contingent, or unliquidated; • you file a proof of claim in a different amount; or • you receive another                                                        TY OF ALAMEDA, 2120 &RXQW\ &$  LV                                 JOSEPH E.
                                                                                                                                                                                                                                                                                   JOSEPH E.
notice.If your claim is not scheduled or if your claim is designated as disputed,contingent,or unliquidated,you must    and codicils, if any, be a contingent creditor       Martin Luther King Jr. KHUHE\          UHJLVWHUHG                                                 CANCIAMILLA          some furniture
                                                                                                                        admitted to probate. of the decedent , you                                                                              CANCIAMILLA
ﬁle a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.You may ﬁle                                                            Wy.,    Berkeley,    CA E\      WKH     IROORZLQJ
                                                                                                                                                                                                                                                 County Clerk
                                                                                                                                                                                                                                                                                County Clerk
a proof of claim even if your claim is scheduled.You may review the schedules at the bankruptcy clerk’s ofﬁce or        The will and any must file your claim                94704.
                                                                                                                                                                                                      RZQHU V                                                               CONTRA COSTA           Purchases must be
                                                                                                                        codicils are available with the court and                                     )UDQFR $ 7DUP ''6                  CONTRA COSTA                         COUNTY          made with cash only
online at www.pacer.gov. Secured creditors retain rights in their collateral regardless of whether they ﬁle a proof                                                                                   ,QF                                            COUNTY                                        and paid at the above
                                                                                                                        for examination in the mail a copy to the per-       If you object to the  6WRQHULGJH 0DOO                                                      BY: H. FRANKLIN
of claim.Filing a proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a
                                                                                                                        file kept by the court.  sonal representative                                                                               BY: C. DIAS             DEPUTY COUNTY           referenced facility in
lawyer can explain. For example, a secured creditor who ﬁles a proof of claim may surrender important nonmon-                                                                granting of the peti- 5G  3OHDVDQWRQ                     DEPUTY COUNTY
                                                                                                                                                 appointed by the court      tion, you should ap- &$                                                                             CLERK         order to complete the
etary rights,including the right to a jury trial.                                                                       The Petition requests within the later of ei-                                                                                    CLERK               FILE#2019-0947         transaction.       Extra
    8. Exception to discharge deadline: You must start a judicial proceeding by ﬁling a complaint if you want                                                                pear at the hearing +DUULVRQ 1JX\HQ ''6                          FILE#2019-0701
                                                                                                                        authority to adminis- ther (1) four months           and state your objec- 06' D 'HQWDO &RUS                                                FICTITIOUS BUSINESS           Space Storage may re-
to have a debt excepted from discharge under 11 U.S.C.§ 1141(d)(6)(A).The bankruptcy clerk’s ofﬁce must receive         ter the estate under from the date of first                                                                     FICTITIOUS BUSINESS             NAME STATEMENT              fuse any bid and may
a complaint and any required ﬁling fee by the following deadline. Deadline for ﬁling the complaint: To Be                                                                    tions or file written  6WRQHULGJH 0DOO                  NAME STATEMENT
                                                                                                                        the Independent Ad- issuance of letters to a         objections with the 5G  3OHDVDQWRQ                                               The name of the busi-          rescind any purchase
Determined                                                                                                              ministration of Estates general personal rep-                                                                  The name of the busi-         ness: Kia’s Boutique           up until the winning
                                                                                                                                                                             court before the hear- &$                            ness: Cali Kernels at
    9. Creditors with a foreign address: If you are a creditor receiving notice mailed to a foreign address, you        Act. (This authority resentative, as defined         ing. Your appearance 7KLV EXVLQHVV LV FRQ                                              at 620 S. 37th St. Apt.        bidder takes posses-
may ﬁle a motion asking the court to extend the deadlines in this notice.Consult an attorney familiar with United       will allow the personal in section 58(b) of the                                                                607 Fern Ave. Pinole,         5 Richmond, Ca. 94804          sion of the personal
                                                                                                                                                                             may be in person or GXFWHG E\ D *HQHUDO                  Ca. 94564 Contra Cos-
States bankruptcy law if you have any questions about your rights in these cases.                                       representative to take California       Probate      by your attorney.                                                                       CCC is hereby regis-           property.
    10. Filing a Chapter 11 bankruptcy case: Chapter 11 allows debtors to reorganize or liquidate according             many actions without Code, or (2) 60 days                                     3DUWQHUVKLS                      ta Co is hereby regis-        tered by the following              ATS# 6291242
to a plan. A plan is not effective unless the court conﬁrms it.You may receive a copy of the plan and a disclosure      obtaining court appro- from the date of mail-                                 %XVLQHVV FRPPHQFHG               tered by the following        owner(s):                          Feb. 8, 15, 2019
                                                                                                                                                                             If you are a creditor RQ -DQXDU\                   owner(s):
statement telling you about the plan, and you may have the opportunity to vote on the plan. You will receive            val. Before taking cer- ing or personal deliv-       or a contingent cred- ([SLUHV )HEUXDU\                                               Marquita Johnson
notice of the date of the conﬁrmation hearing, and you may object to conﬁrmation of the plan and attend the             tain very important ac- ery to you of a notice                                                                 Dana Aguilera                 620 S. 37th St. Apt. 5
                                                                                                                                                                             itor of the decedent,                                 607 Fern Ave.                                                    WHERE ELSE
conﬁrmation hearing. Unless a trustee is serving, the debtors will remain in possession of the property and may         tions, however, the under section 9052 of            you must file your V )UDQFR 7DUP                                                      Richmond, Ca. 94804               CAN YOU FIND
continue to operate their business.                                                                                     personal representa- the California Probate                                                                    Pinole, Ca. 94564             This business is con-
                                                                                                                                                                             claim with the court            :%                 Anthony Aguilera
                                                                                                                                                                                                                                                                                                          A HOUSE?
    11. Discharge of debts: Conﬁrmation of a chapter 11 plan may result in a discharge of debts, which may in-          tive will be required to Code.                       and mail a copy to the                                                                  ducted by:                            A CAR?
clude all or part of your debt.See 11 U.S.C.§ 1141(d).A discharge means that creditors may never try to collect the     give notice to interes- Other California stat-                                           97                    607 Fern Ave.                 an individual                         A PET?
                                                                                                                                                                             personal representa-        )HEUXDU\              Pinole, Ca. 94564                                                   A JOB?
debt from the debtors except as provided in the plan. If you want to have a particular debt owed to you excepted        ted persons unless utes and legal author-            tive appointed by the                                                                   /s/Marquita Johnson
from the discharge under 11 U.S.C.§ 1141(d)(6)(A), you must start a judicial proceeding by ﬁling a complaint and        they have waived no- ity may affect your                                            0DUFK                 This business is con-         This statement was
                                                                                                                                                                                                                                                                                                        THEY’RE ALL
                                                                                                                                                                             court within the later                                    ducted by:
                                                                                                                                                                                                                                                                                                       IN ONE PLACE
paying the ﬁling fee in the bankruptcy clerk’s ofﬁce by the deadline.                                                   tice or consented to rights as a creditor.           of either (1) f o u r                                                                   filed with the County           THE CLASSIFIEDS!
                                                                                         CCT #6294103; 2/15/19          the proposed action.)                                                                                          a married couple
                                                                      Case: 19-30088                                       Doc# 522-6                  Filed: 02/20/19                   Entered: 02/20/19 18:38:39                                      Page 4
                                                                                                                                                                of 5
Local: Suspect shot in                              Business: Amazon pulls plans                                                    Local: Big-wave women surfers                                             Sports: Profar has not
standoff in San Jose. A8                            for New York City headquarters. C7                                              inspire equal-pay bill. B1                                                reached potential. C1




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MILITARY COULD BUILD BORDER WALL




Budget deal, then emergency?
Spending bill will avert                         an impending government shut-
                                                 down, but only after announcing
                                                                                                      just a fraction of the money he’s
                                                                                                      sought for a steel wall along the
                                                                                                                                                                                                                                     Senate Majority
                                                                                                                                                                                                                                     Leader Mitch
shutdown, but declaration                        he will also declare a national                      U.S.-Mexico border.                                                                                                            McConnell
will circumvent Congress                         emergency so he can get more
                                                 money for a border wall.
                                                                                                         The Senate swiftly passed
                                                                                                      the legislation on an 83-16 vote,
                                                                                                                                                                                                                                     heads to his
                                                                                                                                                                                                                                     office after a
By Erica Werner, Damian
                                                    Moments after Trump dis-                          and the House followed suit late                                                                                               vote on the
Paletta, Seung Min Kim
                                                 closed his intentions in a phone                     Thursday with a 300-128 vote. If                                                                                               Senate floor on
and Rachael Bade
                                                 call with Senate Majority Leader                     Trump keeps his promise to sign                                                                                                Capitol Hill in
The Washington Post
                                                 Mitch McConnell, R-Ky., McCon-                       the measure, it would avert a gov-                                                                                             Washington on
                                                 nell announced the news on the                       ernment shutdown that would                                                                                                    Thursday.
WASHINGTON » President Donald                    Senate ﬂoor, ending days of un-                      have started Saturday and keep
Trump on Thursday endorsed                       certainty over whether the presi-                    the government open through at                                                                                                 SARAH SILBIGER
a massive budget deal moving                     dent would support the $333 bil-                     least Sept. 30.                                                                                                                — THE NEW YORK
                                                                                                                                                                                                                                     TIMES
through Congress in time to avert                lion spending deal that includes                                               BORDER » PAGE 9




ATMOSPHERIC RIVER STRIKES BAY AREA                                                                                                                                                                    S.J. MAYOR SAYS YES



SEASON’S LARGEST                                                                                                                                                                                      Is bullet
STORM MAKES A SPLASH                                                                                                                                                                                  train still
                                                                                                                                                                                                      on track for
Drenching: Powerful system spurs flood threats, boosts Sierra snowpack
Forecast: Colder temperatures, lighter rain expected today and Saturday                                                                                                                               Bay Area?
                                                                                                                                                                                                      By Casey Tolan
                                                                                                                                                                                                      and Erin Baldassari
                                                                                                                                                                                                      Staff writers
                                                                                                                                                                                                         The bullet train to the Bay Area
                                                                                                                                                                                                      might not be dead after all.
                                                                                                                                                                                                         Gov. Gavin Newsom sowed con-
                                                                                                                                                                                                      fusion this week about the future of
                                                                                                                                                                                                      California’s controversial high-speed
                                                                                                                                                                                                      rail project, suggesting that the state
                                                                                                                                                                                                      must focus on a much-abbreviated
                                                                                                                                                                                                      Central Valley route instead of the
                                                                                                                                                                                                      long-heralded San Francisco-to-Los
                                                                                                                                                                                                      Angeles vision.
                                                                                                                                                                                                         But local leaders insisted on Thurs-
                                                                                                                                                                                                      day that even if the $77 billion project
                                                                                                                                                                                                      isn’t on track for the Bay Area any-
                                                                                                                                                                                                      time soon, the governor’s goal is still
                                                                                                                                                                                                      to link the Central Valley, with its
                                                                                                                                                                                                      abundance of affordable housing, to
                                                                                                                                                                                                      the economic engine of Silicon Valley.
                                                                                                                                                                                                         “The governor has personally com-
                                                                                                                                                                                                      municated to me a commitment to
                                                                                                                                                                                                      a Valley-to-Valley connection,” San
                                                                                                                                                                                                      Jose Mayor Sam Liccardo said in an
                                                                                                                                                                                                      interview. “I take him at his word.”
                                                                                                                                                                                                         And while it’s not clear when that
                                                                                                                                                                                                      will happen, “It wasn’t obvious to any
                                                                                                                                                                                                      of us that the connection was going
                                                                                                                                                                                                      to happen in this decade anyway,”
                                                                                                                                                                                                      Liccardo added.
                                                                                                                                                                                                         Newsom told reporters as much in
                                                                                                                                                                                                      Fresno on Wednesday, saying he was
                                                                                                                                                                                                      conﬁdent the rail line would eventu-
                                                                                                                                                            JUSTIN SULLIVAN — GETTY IMAGES            ally be built to the Bay Area. For now,
A view of the roof of a home that was swept down a hill by a mudslide during a rainstorm on Thursday in Sausalito. Fifty homes there                                                                  the state will focus on the Bakers-
were evacuated after a mudslide struck homes and sent at least one sliding about 75 yards down a hill.                                                                                                ﬁeld-to-Merced route, a roughly 170-
                                                                                                                                                                                                      mile segment that Newsom hopes
                                                                                                                                                                                                      will serve as a proof of concept to
By Paul Rogers                                      “It’s a                             Lesson learned: This time, San Jose                                                                           help generate private investment or
                                                                                                                                                                                                      additional federal funds to connect
progers@bayareanewsgroup.com                        good                                officials more proactive about warnings                                                                       it to Silicon Valley sometime after
   An atmospheric river storm                       sign for                                                                                                                                          it starts running in 2027 or 2028. A
that walloped the Bay Area on                                                                                                                                                                                                           RAIL » PAGE 8
Thursday — causing traffic snarls,                  our water                                                                                  growing ﬂood danger.
                                                                                        By Mark Gomez
ﬂood scares and at least one ma-                    supply. ...                         and John Woolfolk
                                                                                                                                                 This time, it wasn’t necessary.
jor mudslide that wrecked homes                                                         Staff writers
                                                                                                                                                 The threat subsided two hours
and cars — has ﬁnally left North-                   It wasn’t                                                                                  after the city sent out electronic
ern California.                                     that                                SAN JOSE » Two years after San                         evacuation alerts and officers
   But apart from the hassles and                                                       Jose officials failed to evacu-                        warned residents to leave their
damage, the biggest storm of the                    long ago                            ate residents before ﬂoodwaters                        homes. The city deactivated its
winter so far also delivered some-                  that we                             from a powerful February storm                         evacuation order and told sleepy-
thing quite valuable: a boost to                                                        trapped many in their homes, an-                       eyed residents they could re-
the Sierra Nevada snowpack —                        had five                            other downpour Thursday gave                           turn home. Evacuated residents
the source of one-third of Califor-                 years of                            the city’s emergency planners a                        seemed ﬁne with that.
nia’s water supply — to 102 per-                                                        chance to put the scathing criti-                        “I think they did a great job,”
cent of its historical average for                  historic                            cism behind them.                                      said CJ Durbin, who was awak-
April 1.                                            drought.”                              With the Guadalupe Creek                            ened by police at 4:30 a.m. at her                                          CALIFORNIA HIGH-SPEED RAIL
                                                                                                                                                                                                                          AUTHORITY VIA GETTY IMAGES
   In other words, California al-                                                       rising, city officers and multi-                       Glacier Drive home and evacu-
ready has the equivalent of an av-                  — Chris Orrock, a                   lingual volunteers went door to                        ated with her husband, Mark                            The San Joaquin River Viaduct is
                                                    spokesman for the
erage winter’s snow supply, with                    state Department of
                                                                                        door in the pre-dawn darkness                          Durbin, their two teenage daugh-                       being built to carry high-speed rail
six weeks still left to go in this                  Water Resources                     warning residents in the Willow                        ters, three cats and a dog to the                      over the San Joaquin River in north
                        STORM » PAGE 8                                                  Glen area to evacuate from the                                           EVACUATION » PAGE 8                  Fresno.

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